Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 1 of 17




                                             U.S. DISTRICT COURT
                                             SOUTHERN DISTRICT OF
                                             FLORIDA
                                             CASE NO.: 2:16cv14413
              TAVARES DOCHER, by and             )
              through JANICE DOCHER-NEELEY,      )
              his mother and legal guardian,     )
                                                 )
                           Plaintiff(s)          )
              vs.                                )
                                                 )
              CHRISTOPHER NEWMAN,                )
              individually; CLAYLAN MANGRUM,     )
              individually; CALVIN ROBINSON,     )
              individually; WADE                 )
              COURTEMANCHE, individually;        )
              KEN J. MASCARA, as SHERIFF of      )
              ST. LUCIE COUNTY, Florida;         )
              JOSE ROSARIO, individually,        )
              and the ST. LUCIE COUNTY FIRE      )
              DISTRICT, an independent           )
              special district,                  )
                                                 )
                           Defendant(s).         )
              ___________________________________)
                          DEPOSITION OF HARDYAL BHAGUDAS
              DATE:                 June 6, 2017
              TIME:                 2:52 p.m.
              PLACE:                201 S.W. Port St. Lucie Blvd., #108
                                    Port St. Lucie, Florida

              TAKEN BY:             Defendant

              REPORTER:             MARCELLA R. SAMSON, Notary
                                    Public of State of Florida, at Large
              APPEARANCES:
              FOR PLAINTIFF:        SEARCY, DENNEY, SCAROLA
                                    BARNHART & SHIPLEY, P.A.
                                    2139 Palm Beach Lakes Blvd.
                                    West Palm Beach, Florida 33409
                                    BY: Adam S. Hecht, Esquire


                             WWW.ATLANTICREPORTING.COM
                                  (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 2 of 17

                                                                                                                       Page 4
            FOR SHERIFF     PURDY, JOLLY, GIUFFREDA & BARRANCO      1           PROCEDINGS
            DEFENDANTS:      2455 E. Sunrise Boulevard, #1216       2       MR. HECHT: At 10 a.m. this morning I
                    Fort Lauderdale, Florida 33304
                                                                    3   appeared at 201 Southwest Port St. Lucie
                    BY: Gregory J. Jolly, Esquire
                                                                    4   Boulevard, Suite 08 (sic), Port St. Lucie,
            FOR SLC FIRE: WILSON ELSER                              5   Florida to take the deposition -- so I appeared
                    111 North Orange Avenue, #1200                  6   at the depositions that were set by Defense
                    Orlando, Florida 32801                          7   counsel to take the deposition of Samantha
                    BY: Julie A. Tyk, Esquire                       8   Gilewski, Paramedic Thomas Sinclair, Mark Anthony
                                                                    9   Brown and Hardyal Bhagudas. When I arrived, I
                                                                   10   was informed by Defense counsel for the Fire
                                                                   11   District, Julie Tyk, that Paramedic Thomas
                                                                   12   Sinclair was not going to appear for the
                                                                   13   deposition, which was noticed for sometime now by
                                                                   14   the Sheriff's Office. During the deposition of
                                                                   15   Samantha Gilewski, which was set for 10 a.m,
                                                                   16   Paramedic Thomas Sinclair appeared and was also
                                                                   17   joined by the general counsel for the St. Lucie
                                                                   18   County Fire District, Kim -- I'm unaware of Kim's
                                                                   19   last name. I was prepared today to take the
                                                                   20   deposition of Paramedic Thomas Sinclair. For
                                                                   21   unknown reasons, I was told by Defense counsel
                                                                   22   Julie Tyk that his deposition would need to be
                                                                   23   reset, even though he appeared and the general
                                                                   24   counsel for the Fire District appeared.
                                                                   25       MR. JOLLY: This is counsel for the Sheriff.


                                                                                                                       Page 5
                       INDEX                                        1      Counsel for the Sheriff noticed the deposition
              EXAMINATION                     PAGE                  2      and we decided to cancel the deposition. It was
              DIRECT EXAMINATION By Mr. Jolly .................5    3      not cross noticed and will be rescheduled.
              CROSS-EXAMINATION By Ms. Tyk ...................19    4          MS. TYK: This is Julie Tyk, on behalf of
              CROSS-EXAMINATION By Mr. Hecht .................20    5      the Fire District. The deposition of Thomas
                                                                    6      Sinclair will be produced -- he will be produced
              CERTIFICATES                                          7      for deposition prior to discovery cutoff on June
              CERTIFICATE OF OATH ...........................39     8      30, 2017.
              CERTIFICATE OF REPORTER .......................40     9          (Thereupon, we had to wait, for a phone
                                                                   10      hearing with the judge, to begin deposition.)
                                                                   11   AND THEREUPON,
                                                                   12               HARDYAL BHAGUDAS,
                                                                   13   called as a witness on behalf of the Defendant herein,
                                                                   14   after having been first duly sworn, was examined and
                                                                   15   testified as follows:
                                                                   16          THE WITNESS: Yes.
                                                                   17              DIRECT EXAMINATION
                                                                   18   BY MR. JOLLY:
                                                                   19      Q Can you state your name, please, for the record.
                                                                   20      A It's Hardyal Bhagudas.
                                                                   21      Q Could you spell that, your last name?
                                                                   22      A B-H-A-G-U-D-A-S.
                                                                   23      Q Mr. Bhagudas, I introduced myself to you outside.
                                                                   24   My name is Greg Jolly and I represent the St. Lucie County
                                                                   25   Sheriff and some of his deputies in a lawsuit that was


                                                                                            2 (Pages 2 to 5)
                                            WWW.ATLANTICREPORTING.COM
                                                 (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 3 of 17

                                                            Page 6                                                                Page 8
         1   filed by Mr. Docher. Mr. Docher is represented by              1           Do you remember what time you came in to work
         2   Mr. Heck, who you met earlier; and this is Miss --             2   that day?
         3          MS. TYK: Tyk.                                           3       A I opened. I think it was a Sunday. Was it
         4   BY MR. JOLLY:                                                  4   Sunday?
         5       Q -- Tyk. She represents another Defendant.                5       Q I don't know.
         6          Have you ever been deposed before?                      6       A Yeah.
         7       A A long time ago back in New York.                        7       Q I think it was.
         8       Q New York. And what was that case about?                  8       A I think it was a Sunday. I opened. Depending on
         9       A It was job related.                                      9   the time, I'm not sure.
        10       Q Job related, okay. Were you --                          10       Q Okay. At some point, one of the cashiers said
        11       A Retail.                                                 11   there was a person with a screwdriver; is that what you
        12       Q Were you the plaintiff or the defendant in the          12   testified to?
        13   lawsuit?                                                      13       A No. They called to the front, yes.
        14       A I think that would be defendant.                        14       Q Okay.
        15       Q Okay.                                                   15       A Somebody was asking for the phone in that --
        16       A It was a company, I had to give a statement --          16       Q What did the cashier say?
        17   like written like what we did at CVS.                         17       A If I can remember, she paged to the front.
        18       Q Okay. I'll go through some of the ground rules          18       Q What does that mean?
        19   for you anyways for the deposition. Everything you say is     19       A Call a manager to the front or something like
        20   being taken by down by the reporter here. So we need you      20   that, if I can remember. So I came up.
        21   all your answers to be verbal.                                21       Q Page to the front means I need a supervisor to
        22       A Okay.                                                   22   come to the front?
        23       Q And I may remind you, if you shake your head yes        23       A Yeah, that's our understanding. When they call,
        24   or shake your head no. I know that's natural, but we just     24   we come up.
        25   need all verbal answers.                                      25       Q Okay. And did you go to the front of the store?


                                                            Page 7                                                                Page 9
         1        A Correct.                                                1      A Yes.
         2        Q Okay. If you don't understand any of my                 2      Q Okay. What happened when you went to the front
         3   questions, please let me know and I'll repeat a question or    3   of the store?
         4   I'll try to clarify it. Otherwise, I'm going to assume         4      A There was an individual there asking to use the
         5   that you understood the question. Okay?                        5   phone.
         6        A Sure.                                                   6      Q Okay. What did this individual look like?
         7        Q Okay. Do you know why you're here today? Do you         7      A African-American, slim.
         8   know what this is about?                                       8      Q Did you later -- Did you ever find out that this
         9        A If I can remember, yes, the incident that               9   person was named Tavares Docher?
        10   happened at the location I used to be the manager for at      10      A Yeah.
        11   CVS.                                                          11      Q Okay. So if I refer to him as Mr. Docher, you
        12        Q Okay. So you were a manager at CVS?                    12   understand I'm talking about the person who was at the
        13        A Yes.                                                   13   front of the store.
        14        Q Were you a manager at that CVS on May 11, 2014?        14      A Yes.
        15        A Yeah, 2014, yes.                                       15      Q Okay. What did you observe about Mr. Docher when
        16        Q Okay. Does that date, when I say, have any             16   you first came in contact with him?
        17   meaning to you?                                               17      A When I came up he wasn't acting like a normal
        18        A I only remember it when the guy ring my doorbell.      18   customer.
        19        Q Okay. What do you remember about that day, if          19      Q What do you mean by that?
        20   anything?                                                     20      A Normal customer wouldn't be like, you know, back
        21        A The individual came in the store, approach our         21   and forth or causing a scene.
        22   cashier and then she called to the front because he had a     22      Q Can you elaborate on that a little bit: Causing
        23   screwdriver.                                                  23   a scene?
        24        Q I'm going to stop you and we'll kinda take it bit      24      A Another sense, if you come up to the register, I
        25   by bit.                                                       25   would say you would be in a line, if there is a lane, with


                                                                                                      3 (Pages 6 to 9)
                                            WWW.ATLANTICREPORTING.COM
                                                 (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 4 of 17

                                                          Page 10                                                           Page 12
         1   no commotion, but when I come up there, it was like a         1   and then to the parking lot. I think he was up there by
         2   commotion.                                                    2   the door, outside.
         3       Q Okay. Do you remember if he was saying anything?        3       Q Where were you when the officers came?
         4       A I don't remember exactly, but I know for sure he        4       A By that entrance area.
         5   was asking for the phone, to use the phone.                   5       Q Okay. Were you outside?
         6       Q Okay. But you don't remember what he was saying?        6       A I'm not sure if I was out the door, but I could
         7       A No. It's --                                             7   see him out there and the cop car was on the side.
         8       Q Okay. Were you -- Did Mr. Docher use the phone?         8       Q Okay. Do you know if Mr. Docher spoke with the
         9       A Yeah. I think the cashier give him across the           9   law enforcement officers?
        10   counter.                                                     10       A Yes.
        11       Q Okay. Were you -- Did you witness Mr. Docher           11       Q Okay. Were you able to hear their conversation
        12   using the phone?                                             12   at all?
        13       A Yeah.                                                  13       A No.
        14       Q And you don't remember anything he was saying          14       Q What was Mr. Docher's demeanor when he was
        15   when he was on the phone?                                    15   speaking with law enforcement when they first arrived?
        16       A No. That's three years ago, sir.                       16       A I can clearly remember we have, like, three or
        17       Q I understand. And that's another thing I should        17   four parking in the front of store where the car would be
        18   tell you, too. We don't want you to guess. So if you         18   basing toward the wall and that's a drive path. Then you
        19   don't remember, that's an acceptable answer.                 19   have a divider with palm trees and then the other parking
        20       A Right.                                                 20   to the side. The officer park in the drive path and they
        21       Q You mentioned something earlier about a                21   were talking casually by the door. Like the door was open
        22   screwdriver.                                                 22   and he was talking and the officer was there.
        23          What do you remember about a screwdriver?             23       Q Did you ever go outside to speak with the
        24       A Yeah. We -- I had a work cart. We have like a          24   officers?
        25   four-wheel cart and I came up with it. And, during that      25       A Yes, I did.


                                                          Page 11                                                           Page 13
         1   time of asking for the phone and coming to the office door    1       Q Why did you go outside to speak with the
         2   and the closest register, he was going to put it on the       2   officers?
         3   cart. So I tell him no, he can't put it on the cart,          3       A Because they were, like, having a very casual
         4   that's his. And after then, he used phone. That's when I      4   conversation, no, like, altercation or whatever you may
         5   know he had the screwdriver.                                  5   think. But I know he had the screwdriver. And there was
         6      Q When you told him not to leave the screwdriver,          6   one officer all the way on the other side of the parking
         7   did he take it?                                               7   lot. So I walk up to that officer and tell him, and then I
         8      A Yeah.                                                    8   come back in the store.
         9      Q What did he do with it after that, the                   9       Q Okay. And why was it that you went outside to
        10   screwdriver?                                                 10   tell the deputies that Mr. Docher had a screwdriver?
        11      A I think he had it in his hand.                          11       A Because the way they were having a conversation,
        12      Q Okay. What happened after you told him to pick          12   it was like casual, like nothing happened. So I don't
        13   up the screwdriver?                                          13   know, I thought it would be the best interest for me to let
        14      A He took it.                                             14   him know he had a screwdriver.
        15      Q And then what happened?                                 15       Q Were you concerned for their safety, the
        16      A I'm not sure if he used the phone after that or         16   deputies' safety?
        17   before that.                                                 17       A At that time, I thought it was my responsibility
        18      Q Okay.                                                   18   to tell them. I don't know about the safety part.
        19      A But he was in front of the store.                       19       Q Okay. Why did you feel like it was your
        20      Q Okay.                                                   20   responsibility to tell them?
        21      A And then the officers came and he walked out,           21       A Because the way they were standing and the way
        22   normal.                                                      22   the car was.
        23      Q Okay. Where was he when the officers came, if           23       Q Okay. At least in your mind they didn't know
        24   you remember?                                                24   that he had a screwdriver?
        25      A We have like an elevated concrete to the outside        25       A I would assume that the way he was talking to


                                                                                              4 (Pages 10 to 13)
                                            WWW.ATLANTICREPORTING.COM
                                                 (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 5 of 17

                                                           Page 14                                                           Page 16
         1   them, he didn't know he had a screwdriver.                     1       A I'm not sure. There was so much (sic) people
         2      Q Okay. So what happened after you informed the             2   there.
         3   deputies that Mr. Docher had a screwdriver?                    3       Q Okay. Do you remember if you were interviewed by
         4      A I just came back inside. I thought that would be          4   any law enforcement personnel after the incident?
         5   the end of it, until everybody was like there's a commotion    5       A Yeah.
         6   outside.                                                       6       Q Okay. Do you know if that conversation was
         7      Q Okay. So after you learned there was a commotion          7   recorded?
         8   outside, what did you do?                                      8       A I'm not sure if it was recorded, but that
         9      A We went out there and it was all done so fast.            9   nighttime, it was handwritten. I'm not sure if it was
        10      Q What was done so fast?                                   10   recorded, but I think there's one time somebody came and it
        11      A He was on the ground.                                    11   was recorded, I think.
        12      Q Okay. Did you observe the deputies attempt to            12       Q Okay.
        13   put Mr. Docher in handcuffs?                                  13       A It was a different person that came to the store.
        14      A No, I don't think I saw that.                            14       Q A different person. Was this person with the
        15      Q Okay. When you went outside was Mr. Docher               15   St. Lucie County Sheriff's office?
        16   already on the ground?                                        16       A I'm not sure.
        17      A I saw him on the ground, yeah.                           17       Q Okay. Did you provide a statement to law
        18      Q Okay. But he was already on the ground when you          18   enforcement?
        19   saw him, you didn't see him being taken to the ground?        19       A Yeah.
        20      A No.                                                      20       Q Okay. Did you tell the truth in your statement?
        21      Q Okay. What was Mr. Docher doing when he was on           21       A Yep.
        22   the ground?                                                   22       Q Did anyone tell you what to say when you provided
        23      A He was just lying there.                                 23   the statement?
        24      Q Okay. What was his -- Were his legs flailing,            24       A No.
        25   was he fighting?                                              25       Q Do you know anyone with the St. Lucie County


                                                           Page 15                                                           Page 17
         1      A I don't know.                                             1   Sheriff's Office?
         2      Q Okay. You don't know?                                     2       A No.
         3      A No.                                                       3       Q Okay. Any family in law enforcement?
         4      Q Do you remember if Mr. Docher was saying anything         4       A No.
         5   when he was on the ground?                                     5       Q Any friends in law enforcement?
         6      A No.                                                       6       A No.
         7      Q Do you remember if the deputies were saying               7       Q When Mr. Docher was speaking with the cashier,
         8   anything when Mr. Docher was on the ground?                    8   how close were you to him?
         9      A No.                                                       9       A That would be from -- I would say the register
        10      Q How close were you to Mr. Docher, approximately,         10   would probably be at the end there by that wall and the
        11   when he was on the ground?                                    11   office area would probably be around here. That distance
        12      A I don't know the distance from the door to the           12   from here to there.
        13   second parking space. Probably 25, 30 feet or more.           13       Q Probably 15 feet?
        14      Q Okay. Did you observe Fire Rescue or paramedics          14       A Probably 15, 20.
        15   come to the store at any point?                               15       Q Okay. What was the closest -- was that the
        16      A Yeah, there was everybody there from the                 16   closest you ever got to Mr. Docher?
        17   neighbor, believe me.                                         17       A No. The closest I got to him was probably like
        18      Q But specifically I'm asking if you saw any fire          18   this.
        19   paramedics?                                                   19       Q Could you smell any alcohol on Mr. Docher?
        20      A A fire truck was there.                                  20       A No.
        21      Q Did you see the fire truck come or was it already        21       Q Was Mr. Docher slurring his words?
        22   there when you went outside?                                  22       A I would say a little bit, because he wasn't,
        23      A No. I think it was there already.                        23   like, normal.
        24      Q And did you observe any paramedic personnel              24       Q Okay.
        25   attending to Mr. Docher at all?                               25       A Normal in a sense, like, me looking at you,


                                                                                               5 (Pages 14 to 17)
                                               WWW.ATLANTICREPORTING.COM
                                                    (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 6 of 17

                                                         Page 18                                                             Page 20
         1   talking to you.                                              1      A No.
         2       Q How was his speech, was he talking fast, was he        2      Q Do you know anyone who works with St. Lucie
         3   talking slow?                                                3   County Fire District?
         4       A I would say a little slow.                             4      A No.
         5       Q Okay. Do you remember -- I know you said that          5      Q You mentioned that you were outside of the store
         6   someone interviewed you after the incident.                  6   and recall seeing a fire truck or ambulance --
         7         Do you remember when that statement was provided,      7      A Yes.
         8   was it a day after the incident, was it the same night as    8      Q -- at the scene?
         9   the incident?                                                9         Did you ever see Mr. Docher be taken into that
        10         I'm just trying to get an idea of when you            10   ambulance?
        11   provided that statement.                                    11      A I don't remember if they take him to the
        12       A I think it was the night was from the police          12   ambulance or how that ended.
        13   department. I'm not sure how long afterwards another        13      Q Okay.
        14   individual came.                                            14      A Yeah.
        15       Q So the incident was fresh in your mind when you       15      Q Did you speak to anyone with the Fire District on
        16   gave the statement?                                         16   May 11, 2014?
        17       A Yeah.                                                 17      A No. It was only the Sheriff's Department.
        18       Q Certainly fresher than now?                           18         MS. TYK: That's all the questions I have.
        19       A Oh, gee, yeah. You know, this thing, too, there       19              CROSS-EXAMINATION
        20   was a video recording. Our system had video.                20   BY MR. HECHT:
        21       Q Did you look at the video after the incident?         21      Q Mr. Bhagudas, I'm Adam Hecht. I represent
        22       A Yeah, because I had to copy it.                       22   Tavares Docher.
        23       Q Okay. Copy it for who, the Sheriff?                   23         Currently where do you work?
        24       A Yeah.                                                 24      A I work at Dollar Tree Store.
        25       Q Have you ever met me before?                          25      Q What's it called?


                                                         Page 19                                                             Page 21
         1      A No.                                                     1      A Dollar Tree.
         2      Q Okay. Have you ever spoken with anybody from any        2      Q And what's the location of that?
         3   office?                                                      3      A That's in 3848 US1.
         4      A No.                                                     4      Q What's your position there?
         5      Q Okay. Have you ever spoken to any attorneys             5      A I'm the assistant manager.
         6   about this case?                                             6      Q Why is it that you left CVS?
         7      A Only on the phone calls today.                          7      A It's a personal choice.
         8      Q Today. Actually, I think -- oh, no, it was              8      Q When did you leave CVS?
         9   Mr. Hecht, I think, who spoke with you.                      9      A 2015.
        10      A Yeah today. And then somebody called from the          10      Q On May 11, 2014 you were the manager of CVS?
        11   other office for a time to come earlier.                    11      A Two thousand -- Yes.
        12      Q I think that was my office.                            12      Q How long were you the manager there for?
        13      A Your office?                                           13      A At that location, probably five, six years.
        14          MR. JOLLY: Yeah. I know. I understand a              14      Q Is the first time that you ever came in contact
        15      lot of people calling you. I don't have any more         15   with Tavares Docher when Mark Brown was handing Tavares
        16      questions at this time. I think some of the              16   Docher the phone to call 9-1-1?
        17      other lawyers might have questions for you, but I        17         MS. TYK: Object to form.
        18      thank you for coming and I appreciate your               18         MR. JOLLY: Join.
        19      patience.                                                19         THE WITNESS: The first time I saw him,
        20          THE WITNESS: Okay.                                   20      yeah.
        21              CROSS-EXAMINATION                                21   BY MR. HECHT:
        22   BY MS. TYK:                                                 22      Q And would you say that when you saw Tavares
        23      Q Good afternoon. My name is Julie Tyk. I                23   Docher, at the time that he was on the phone with 9-1-1,
        24   represent the Fire District and Jose Rosario.               24   that he appeared scared?
        25          Do you know Mr. Rosario?                             25         MS. TYK: Object to form.


                                                                                              6 (Pages 18 to 21)
                                           WWW.ATLANTICREPORTING.COM
                                                (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 7 of 17

                                                               Page 22                                                    Page 24
         1          MR. JOLLY: Join.                                      1   him to pick it back up, correct?
         2          THE WITNESS: I think he was scared for some           2       A Yeah.
         3      reason, something, you know, in that sense.               3       Q When he picked it back up, do you know if he put
         4      That's one reason why we had to give him the              4   it in his pocket?
         5      phone, too, that's like not refusing to give the          5       A I'm not sure if he put it in his pocket or he
         6      phone for 9-1-1.                                          6   still had it in his hand.
         7   BY MR. HECHT:                                                7       Q You're just not sure?
         8      Q Did it appear to you that Tavares Docher was in         8       A No, I'm not sure if he put it in his pocket or
         9   fear of something?                                           9   his hand, yeah.
        10          MS. TYK: Object to form.                             10       Q And then after he took the screwdriver, did he
        11          MR. JOLLY: Join.                                     11   walk outside or, at some point, did he go and purchase a
        12          THE WITNESS: Yes.                                    12   cigar or some cigarettes?
        13   BY MR. HECHT:                                               13           MR. JOLLY: Form.
        14      Q Was Tavares Docher, when he was on the phone with      14           MS. TYK: Join.
        15   9-1-1, calm or excited?                                     15           THE WITNESS: I think between that time
        16          MR. JOLLY: Form.                                     16       frame, he buy a cigar and then after that, he
        17          MS. TYK: Join.                                       17       went outside. Yeah, I think he bought his cigar
        18          THE WITNESS: I would say excited, in my              18       and then went outside. When the officer car pull
        19      opinion.                                                 19       up, he just walked outside.
        20   BY MR. HECHT:                                               20   BY MR. HECHT:
        21      Q And after Tavares Docher was speaking to 9-1-1,        21       Q All right. So is it correct that after standing
        22   is it correct that you took Mr. Docher over to where your   22   outside of your office and you telling him to pick up the
        23   office was?                                                 23   screwdriver that he then walked over to the cashier to
        24      A Yeah, on the side.                                     24   purchase a cigar?
        25      Q What was the purpose for you taking him to where       25       A Yes.


                                                               Page 23                                                    Page 25
         1   your office was?                                             1      Q And do you recall did he wait in line to purchase
         2      A Just to keep everything calm and controlled.            2   a cigar?
         3      Q And when you asked Mr. Docher to walk with you to       3      A I'm not sure, because, at that time, it was all
         4   where your office was, did he comply?                        4   cleared up in the front, you know.
         5      A Yes.                                                    5      Q When he went to go purchase the cigar, was he
         6      Q And, at that point when you were outside of your        6   acting calm or excited or angry?
         7   office with Tavares Docher, was he calm or excited?          7          MS. TYK: Object to form.
         8          MR. JOLLY: Form.                                      8          MR. JOLLY: Join.
         9          MS. TYK: Join.                                        9          THE WITNESS: I don't remember being angry
        10          THE WITNESS: He was calm, because I stay             10      at that time, no.
        11      right there. Otherwise, you know, I would have           11   BY MR. HECHT:
        12      moved away or something, but I stayed with him           12      Q Was he calm when he was purchasing the cigar?
        13      until he walked outside and the officers came.           13          MR. JOLLY: Form.
        14   BY MR. HECHT:                                               14          MS. TYK: Join.
        15      Q At what point did you see that Tavares was             15          THE WITNESS: I'm not sure, you know, the
        16   holding a screwdriver?                                      16      reaction, but I was still up front.
        17      A When I came to the front.                              17   BY MR. HECHT:
        18      Q Is that when you walked with him over to your          18      Q Were you concerned for anyone's safety when
        19   office?                                                     19   Mr. Docher was purchasing the cigar?
        20      A Yeah, because the cart was there and he was going      20      A No. At that time, I was up front when I saw him
        21   to put it.                                                  21   came up and just act normal like a regular customer.
        22      Q Were you ever in fear that he was going to hurt        22      Q Then after purchasing the cigar, is that when
        23   you with that screwdriver?                                  23   Mr. Docher exited the store?
        24      A No.                                                    24      A Yeah.
        25      Q And he put the screwdriver down and then you told      25      Q Did you see where he went when he exited the


                                                                                             7 (Pages 22 to 25)
                                               WWW.ATLANTICREPORTING.COM
                                                    (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 8 of 17

                                                             Page 26                                                        Page 28
         1   store?                                                        1       know if that's concern, because what I observed
         2      A Yeah, he goes straight out. As I said, there is          2       he was just a casual conversation with one in the
         3   an elevated concrete platform down to the parking and he      3       car and he was on this side; and then I probably
         4   was out there. He walked straight out, calm as ever.          4       realized, to me personally, that he don't know he
         5      Q Did he sit down or did he stay standing?                 5       have a screwdriver.
         6      A He stand. I didn't see him sit down anytime.             6   BY MR. HECHT:
         7      Q And when he was outside, was he acting calm or           7       Q So here's what I'm getting at, if the police are
         8   was he acting excited?                                        8   coming to the CVS because there's someone who is acting
         9            MR. JOLLY: Form.                                     9   irrational --
        10            THE WITNESS: I would say calm.                      10       A Right.
        11            MS. TYK: Join.                                      11       Q -- and then is walking towards them with a
        12   BY MR. HECHT:                                                12   screwdriver in their hand, I would imagine, as I'm sure you
        13      Q And did you see a police car pull up?                   13   would, that the police would react a certain way.
        14      A Yeah.                                                   14          Do you agree with that?
        15      Q You saw the first police car pull up?                   15          MR. JOLLY: Form.
        16            MR. JOLLY: Form.                                    16          THE WITNESS: Yes.
        17            THE WITNESS: Yeah, the one that was in our          17          MS. TYK: Join.
        18      driveway across from the --                               18   BY MR. HECHT:
        19   BY MR. HECHT:                                                19       Q So my question for you is, is when Tavares Docher
        20      Q Do you remember how many police officers were in        20   was walking toward the police officers, if I hear you
        21   that car?                                                    21   correctly, it did not appear to you that the officers were
        22      A I'm not sure.                                           22   concerned that Tavares Docher was holding any sort of
        23      Q Do you remember what Tavares Docher did when that       23   weapon in his hand, correct?
        24   initial police car pulled up?                                24          MR. JOLLY: Form.
        25      A He walked towards the car.                              25          MS. TYK: Join.


                                                             Page 27                                                        Page 29
         1       Q Do you recall if when Tavares Docher was walking        1          THE WITNESS: No.
         2   toward the police car, if he was carrying a screwdriver in    2   BY MR. HECHT:
         3   his hand?                                                     3      Q The police officers didn't exit their car with
         4       A I don't know if he had it in his hand.                  4   their guns drawn on Tavares Docher, correct?
         5       Q You said that at some point you exited the store        5      A No.
         6   and you told one of the officers that Tavares Docher had a    6          MR. JOLLY: Form.
         7   screwdriver, correct?                                         7          MS. TYK: Join.
         8       A Yes.                                                    8   BY MR. HECHT:
         9       Q Did you see Tavares Docher holding a screwdriver        9      Q When the police officers exit their vehicles, did
        10   in his hand when you told that to the officers?              10   they stand behind their doors or did they exit and then
        11          MR. JOLLY: Form.                                      11   immediately walk towards Tavares Docher?
        12          THE WITNESS: No.                                      12          MR. JOLLY: Form.
        13   BY MR. HECHT:                                                13          MS. TYK: Join.
        14       Q Was the screwdriver in Tavares Docher's pocket         14          THE WITNESS: Last what I saw I can remember
        15   when you told that to the officer?                           15      clearly that when the car pulled up, this is the
        16       A I don't --                                             16      car. They pull up --
        17          MR. JOLLY: Form.                                      17   BY MR. HECHT:
        18          THE WITNESS: -- know if he had it in his              18      Q Let me just stop you there, because we're not
        19       pocket.                                                  19   going to know what you're saying --
        20   BY MR. HECHT:                                                20      A Okay.
        21       Q When the officers exited their vehicle, did they       21      Q -- because everything is going written down. So,
        22   seem concerned at all for their safety?                      22   as best as you can, just describe what happened when the
        23          MR. JOLLY: Form.                                      23   police exited their car.
        24          MS. TYK: Join.                                        24      A Well, I saw one officer was on the outside of the
        25          THE WITNESS: I wasn't able to -- I wouldn't           25   parking lot and one was in the car by the door. He walked


                                                                                              8 (Pages 26 to 29)
                                              WWW.ATLANTICREPORTING.COM
                                                   (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 9 of 17

                                                          Page 30                                                          Page 32
         1   towards the car. So I would say that he was in front of        1   BY MR. HECHT:
         2   the door and one was behind the door. When I walked past       2      Q Well, I don't want you to assume. I want to know
         3   and I told the other officer that he had a screwdriver with    3   what you remember.
         4   him in the store and I tell him to take it back, I come        4      A I remember it as normal.
         5   back in the store; I walk away without -- Everything was       5      Q They weren't yelling at each other?
         6   normal, no commotion, nobody was fussing or whatever.          6      A No.
         7      Q From what you saw when the officers pulled up on          7      Q They weren't threatening each other?
         8   the scene, did it appear to you that they identified           8      A No.
         9   Tavares Docher as someone that was carrying a weapon?          9         MR. JOLLY: Form.
        10          MR. JOLLY: Form.                                       10   BY MR. HECHT:
        11          MS. TYK: Join.                                         11      Q At any point, did you see any of the officers
        12          THE WITNESS: I don't know.                             12   place handcuffs on Tavares?
        13   BY MR. HECHT:                                                 13      A No.
        14      Q Did they yell at Tavares Docher to drop anything?        14      Q Did you see officers tackle Tavares Docher to the
        15      A I don't know.                                            15   ground?
        16      Q Did they yell at Tavares Docher to lay down on           16         MR. JOLLY: Form.
        17   the ground?                                                   17         MS. TYK: Join.
        18      A I don't know.                                            18         THE WITNESS: No.
        19      Q Okay. Are you saying you don't know, 'cause you          19   BY MR. JOLLY:
        20   don't know or are you saying you don't know because you       20      Q Did you ever see the officers try and place
        21   don't remember?                                               21   Tavares Docher in the police car?
        22          MR. JOLLY: Form.                                       22      A No.
        23          MS. TYK: Join.                                         23      Q When is it that you walked back into the CVS?
        24          THE WITNESS: I don't know. I don't                     24         MR. JOLLY: Form.
        25      remember.                                                  25         THE WITNESS: After I told the officer that


                                                          Page 31                                                          Page 33
         1   BY MR. HECHT:                                                  1       was on the other side of the parking lot that he
         2       Q And that's okay?                                         2       had a screwdriver, I came back in.
         3       A Yeah.                                                    3   BY MR. HECHT:
         4       Q But it's your testimony that as Tavares Docher           4       Q And you didn't see anything else that happened
         5   approached the police officers, he seemed calm?                5   outside?
         6       A Yes.                                                     6       A No, until I go back and, you know, he was on the
         7       Q Did you ever see a second police vehicle pull up         7   ground, after the commotion starts.
         8   on scene shortly after the first vehicle?                      8       Q And when you say that you walked back outside,
         9       A I'm not sure if there was a second, but there was        9   how long from when you reentered the CVS, after you told
        10   a lot of people when I came back out to notice what was       10   officer about the screwdriver, to when you witness back
        11   going on.                                                     11   outside?
        12       Q And did you watch the two police officers that          12       A I don't remember how long, but it was a short
        13   initially arrived speak to Tavares Docher?                    13   period of time.
        14       A One, I saw one. As I said, I saw one was talking        14       Q Okay. Approximately how long?
        15   to him. I walked to the other side to the other officer       15       A I would say 10, 15 minutes. I'm not sure.
        16   and then came back in. And when I went back out, it was       16       Q That's okay. When you walked back outside, what
        17   all done.                                                     17   did you see?
        18       Q When you saw Tavares speaking with the officer,         18       A I could see he was on the ground.
        19   did there seem to be any sort of physical struggle going      19       Q Was he in handcuffs?
        20   on?                                                           20       A I'm not sure.
        21       A No.                                                     21       Q Do you recall how many police officers were
        22       Q Was it just a normal conversation between Tavares       22   standing around him?
        23   and the officer?                                              23       A No.
        24           MR. JOLLY: Form.                                      24       Q Did you see blood on the ground?
        25           THE WITNESS: I would assume so.                       25       A I cleaned it up the next day.


                                                                                              9 (Pages 30 to 33)
                                            WWW.ATLANTICREPORTING.COM
                                                 (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 10 of
                                      17
                                                     Page 34                                                         Page 36
        1       Q So the answer is yes, you did see blood on the      1      A Yeah.
        2   ground.                                                   2      Q And how did you clean it?
        3          MR. JOLLY: Form.                                   3      A Water and bleach.
        4          THE WITNESS: Yeah.                                 4      Q Did you have to scrub it?
        5          MS. TYK: Join.                                     5      A No, we didn't. We, you know, just throw water
        6   BY MR. HECHT:                                             6   until it wash out.
        7       Q And where did you see the blood on the ground?      7      Q And did you ever -- Strike that.
        8       A In the spot that he was on the ground.              8           Did you ever give a copy of security footage to
        9          Why I feel like you asking me like I did           9   anyone in this case?
       10   something?                                               10      A The Sheriff.
       11       Q You didn't do anything wrong. We're deposing all   11      Q Did you give it to anyone else in the case?
       12   the witnesses and you're a witness.                      12      A No, that's only for the Sheriff Department.
       13       A Oh, okay.                                          13      Q Did you make the copy or did some I.T. person
       14       Q So I just want to know what you remember. You      14   make a copy?
       15   didn't do anything wrong, sir.                           15      A No. We have access to make it at the store.
       16       A Okay.                                              16      Q Did you give a copy of the surveillance to the
       17       Q Just so you know.                                  17   police on the same day as this incident?
       18          The blood that you saw on the ground, where was   18      A I think we did and then the next day, because it
       19   it coming from?                                          19   wasn't complete.
       20       A I assume --                                        20      Q What do you mean that "it wasn't complete"?
       21          MR. JOLLY: Form.                                  21      A I think when we copied it, we didn't get the
       22          MS. TYK: Join.                                    22   whole time frame. So we had to do it like time frame and
       23          THE WITNESS: -- it's his.                         23   then I'm sure they had to come back to our office to get
       24   BY MR. HECHT:                                            24   more detail.
       25       Q I'm sorry?                                         25      Q Did the police contact you and say the copy that


                                                     Page 35                                                         Page 37
        1       A I assume it's.                                      1   you made for them was missing some time on it?
        2       Q Tavares?                                            2          MR. JOLLY: Form.
        3       A Tavares.                                            3          THE WITNESS: Yeah, because that's why i did
        4       Q Again, I don't want you to assume, but did you      4       the second set.
        5   see blood that was coming from Tavares Docher's body?     5   BY MR. HECHT:
        6       A No.                                                 6       Q Okay. And did you look at the second copy to
        7       Q Okay. You said that you cleaned up the blood the    7   make sure the full video was there?
        8   following day?                                            8       A Yeah. Whatever we have, yeah.
        9       A Yes.                                                9       Q And then what did you do with that second copy?
       10       Q And how much blood was it?                         10       A They have to sign and pick it up.
       11            MS. TYK: Object to form.                        11       Q So you gave it to the police officer again?
       12            MR. JOLLY: Join.                                12       A Yeah.
       13            THE WITNESS: How would I describe that. It      13       Q Was it the same police officer that you gave the
       14       wasn't spots or drops.                               14   first copy to?
       15   BY MR. HECHT:                                            15       A I'm not sure.
       16       Q Was it a puddle of blood?                          16          MR. HECHT: Okay. I don't have any other
       17            MR. JOLLY: Form.                                17       questions. Thank you.
       18            MS. TYK: Join.                                  18          MS. TYK: No other questions.
       19            THE WITNESS: Puddle? I don't know you           19          MR. JOLLY: Sir, you have the right to read
       20       explain puddle. It could be a lot, could be a        20       your deposition for accuracy, if it's ordered.
       21       little. But it was like, if I could draw it on       21       What that means is everything that she's
       22       here, it was a spot that you could know something    22       transcribed, you would read it and see if it was
       23       happened.                                            23       what you said. You need to make the election
       24   BY MR. HECHT:                                            24       now. You can either read it or you can waive
       25       Q Was it dried blood?                                25       that right, but we need to know now.


                                                                                      10 (Pages 34 to 37)
                                        WWW.ATLANTICREPORTING.COM
                                             (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 11 of
                                      17
                                                          Page 38                                                                       Page 40
        1          THE WITNESS: It's good.                                 1   STATE OF FLORIDA )
        2          MR. JOLLY: So you're going waive or you                                 : SS
        3       want to waive?                                             2   COUNTY OF MARTIN )
                                                                           3
        4          THE WITNESS: Waive in a sense of what?
                                                                           4            CERTIFICATE OF REPORTER
        5          MR. JOLLY: Meaning you waive your right to
                                                                           5
        6       read it for accuracy. I'm sure she's taken down
                                                                           6      I, MARCELLA R. SAMSON, a Shorthand Reporter and Notary
        7       everything accurately, but it's your right to
                                                                           7   Public of the State of Florida at Large, certify that the
        8       read it or waive it.                                       8   foregoing deposition of HARDYAL BHAGUDAS was
        9          THE WITNESS: No, it's fine.                             9   stenographically reported by me and is a true and accurate
       10          MR. JOLLY: Okay, then that's it. You                   10   transcription of said deposition of HARDYAL BHAGUDAS. A
       11       waive?                                                    11   review of the transcript was not requested.
       12          THE WITNESS: Waive yeah.                               12      I certify further I am neither attorney nor counsel
       13          MR. JOLLY: Okay. Thank you, sir.                       13   for, nor related to, nor employed by any of the parties to
       14          (Witness excused.)                                     14   the action in which the deposition is taken and, further,
       15          (Thereupon, at 3:24 p.m., the deposition was           15   that I am not a relative or an employee of any attorney or
       16       concluded.)                                               16   counsel employed in this case, nor am I financially
       17                    ---                                          17   interested in the outcome of this action.
                                                                          18      DATED this 8th day of June, 2017.
       18                 STIPULATION
                                                                          19       _________________________
       19          Stipulated and AGREED by and between counsel
                                                                          20       MARCELLA R. SAMSON
       20       for the respective parties and the witness that
                                                                          21       THIS TRANSCRIPT IS DIGITALLY SIGNED
       21       the signature of the witness to the deposition,           22       SHOULD THERE BE ANY CHANGE MADE,
       22       and the reading of same, be waived.                                THE SIGNATURE WILL DISAPPEAR
       23                    ---                                          23
       24                                                                 24
       25                                                                 25


                                                          Page 39
        1   STATE OF FLORIDA )
                    : SS
        2   COUNTY OF MARTIN )
        3
        4              CERTIFICATE OF OATH
        5       I, MARCELLA R. SAMSON, a Notary Public of the State of
        6   Florida at Large, authorized to administer oaths, certify
        7   that on this 6th of June, 2017, 2:52 p.m., HARDYAL BHAGUDAS
        8   personally appeared before me and took an oath or
        9   affirmation for the purpose of giving testimony in the
       10   matter of:
       11
       12
       13   PERSONALLY KNOWN ___
            OR PRODUCED IDENTIFICATION: XX
       14   TYPE OF IDENTIFICATION PRODUCED: Florida D.L.
       15
       16      _____________________________
       17      MARCELLA R. SAMSON
               My Commission Expires:
       18      July 26, 2018
               Commission #: FF 122625
       19
               THIS TRANSCRIPT IS DIGITALLY SIGNED
       20      SHOULD THERE BE ANY CHANGE MADE,
       21      THE SIGNATURE WILL DISAPPEAR
       22
       23
       24
       25



                                                                                                11 (Pages 38 to 40)
                                            WWW.ATLANTICREPORTING.COM
                                                 (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 12 of
                                      17
                                                                                      Page 41

               A            31:5            bleach 36:3      cause 30:19         concerned 13:15
       a.m 4:2,15         approximately     blood 33:24 34:1 causing 9:21,22       25:18 27:22
       able 12:11 27:25     15:10 33:14       34:7,18 35:5,7 certain 28:13         28:22
       acceptable 10:19   area 12:4 17:11     35:10,16,25    Certainly 18:18     concluded 38:16
       access 36:15       arrived 4:9       Blvd 1:18,24     CERTIFICATE         concrete 11:25
       accuracy 37:20       12:15 31:13     body 35:5          3:8,9 39:4 40:4     26:3
         38:6             asked 23:3        bought 24:17     CERTIFICA...        contact 9:16
       accurate 40:9      asking 8:15 9:4   Boulevard 2:1      3:7                 21:14 36:25
       accurately 38:7      10:5 11:1         4:4            certify 39:6 40:7   controlled 23:2
       act 25:21            15:18 34:9      Brown 4:9 21:15    40:12             conversation
       acting 9:17 25:6   assistant 21:5    buy 24:16        CHANGE 39:20          12:11 13:4,11
         26:7,8 28:8      assume 7:4                           40:22               16:6 28:2
                            13:25 31:25            C         choice 21:7           31:22
       action 40:14,17
       Adam 1:25            32:2 34:20     C 4:1             CHRISTOPH...        cop 12:7
         20:21              35:1,4         call 8:19,23        1:7               copied 36:21
       administer 39:6    attempt 14:12      21:16           cigar 24:12,16      copy 18:22,23
       affirmation 39:9   attending 15:25  called 5:13 7:22    24:17,24 25:2       36:8,13,14,16
       African-Amer...    attorney 40:12     8:13 19:10        25:5,12,19,22       36:25 37:6,9
         9:7                40:15            20:25           cigarettes 24:12      37:14
       afternoon 19:23    attorneys 19:5   calling 19:15     clarify 7:4         correct 7:1
       ago 6:7 10:16      authorized 39:6  calls 19:7        CLAYLAN 1:8           22:22 24:1,21
       agree 28:14        Avenue 2:4       calm 22:15 23:2 clean 36:2              27:7 28:23
       AGREED 38:19                          23:7,10 25:6    cleaned 33:25         29:4
                                  B          25:12 26:4,7      35:7              correctly 28:21
       alcohol 17:19
       altercation 13:4   B-H-A-G-U-D...     26:10 31:5      cleared 25:4        counsel 4:7,10
       ambulance 20:6       5:22           CALVIN 1:8        clearly 12:16         4:17,21,24,25
         20:10,12         back 6:7 9:20    cancel 5:2          29:15               5:1 38:19
       angry 25:6,9         13:8 14:4 24:1 car 12:7,17       close 15:10 17:8      40:12,16
       answer 10:19         24:3 30:4,5      13:22 24:18     closest 11:2        counter 10:10
         34:1               31:10,16,16      26:13,15,21,24    17:15,16,17       County 1:10,11
       answers 6:21,25      32:23 33:2,6,8   26:25 27:2      come 8:22,24          4:18 5:24
       Anthony 4:8          33:10,16 36:23   28:3 29:3,15      9:24 10:1 13:8      16:15,25 20:3
       anybody 19:2       BARNHART           29:16,23,25       15:15,21 19:11      39:2 40:2
       anyone's 25:18       1:23             30:1 32:21        30:4 36:23        COURT 1:1
       anytime 26:6       BARRANCO         carrying 27:2     coming 11:1         COURTEMA...
       anyways 6:19         2:1              30:9              19:18 28:8          1:9
       appear 4:12        basing 12:18     cart 10:24,25       34:19 35:5        cross 5:3
         22:8 28:21       Beach 1:24,24      11:3,3 23:20    Commission          CROSS-EXA...
         30:8             behalf 5:4,13    case 1:3 6:8 19:6   39:17,18            3:4,5 19:21
       APPEARANC...       believe 15:17      36:9,11 40:16 commotion 10:1          20:19
         1:22             best 13:13 29:22 cashier 7:22        10:2 14:5,7       Currently 20:23
       appeared 4:3,5     Bhagudas 1:15      8:16 10:9 17:7    30:6 33:7         customer 9:18
         4:16,23,24         4:9 5:12,20,23   24:23           company 6:16          9:20 25:21
         21:24 39:8         20:21 39:7     cashiers 8:10     complete 36:19      cutoff 5:7
       appreciate 19:18     40:8,10        casual 13:3,12      36:20             CVS 6:17 7:11
       approach 7:21      bit 7:24,25 9:22   28:2            comply 23:4           7:12,14 21:6,8
       approached           17:22          casually 12:21    concern 28:1          21:10 28:8

                                 WWW.ATLANTICREPORTING.COM
                                      (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 13 of
                                      17
                                                                                      Page 42

        32:23 33:9        5:17              duly 5:14           40:16              25:20 30:1
                        DISAPPEAR                             find 9:8           full 37:7
               D          39:21 40:22                E        fine 38:9          further 40:12,14
       D 3:1 4:1        discovery 5:7       E 2:1 3:1 4:1     fire 1:11 2:4      fussing 30:6
       D.L 39:14        distance 15:12      earlier 6:2 10:21   4:10,18,24 5:5
       date 1:16 7:16     17:11               19:11             15:14,18,20,21          G
       DATED 40:18      district 1:1,1,12   either 37:24        19:24 20:3,6     G 4:1
       day 7:19 8:2       1:12 4:11,18      elaborate 9:22      20:15            gee 18:19
         18:8 33:25       4:24 5:5 19:24    election 37:23    first 5:14 9:16    general 4:17,23
         35:8 36:17,18    20:3,15           elevated 11:25      12:15 21:14,19   getting 28:7
         40:18          divider 12:19         26:3              26:15 31:8       Gilewski 4:8,15
       decided 5:2      Docher 1:4 6:1,1    ELSER 2:4           37:14            GIUFFREDA
       defendant 1:19     9:9,11,15 10:8    employed 40:13 five 21:13              2:1
         5:13 6:5,12,14   10:11 12:8          40:16           flailing 14:24     give 6:16 10:9
       Defendant(s)       13:10 14:3,13     employee 40:15 Florida 1:2,10          22:4,5 36:8,11
         1:13             14:15,21 15:4     ended 20:12         1:18,21,24 2:2     36:16
       DEFENDANTS         15:8,10,25        enforcement         2:5 4:5 39:1,6   giving 39:9
         2:1              17:7,16,19,21       12:9,15 16:4      39:14 40:1,7     go 6:18 8:25
       Defense 4:6,10     20:9,22 21:15       16:18 17:3,5    following 35:8       12:23 13:1
         4:21             21:16,23 22:8     entrance 12:4     follows 5:15         24:11 25:5
       demeanor 12:14     22:14,21,22       Esquire 1:25 2:2 footage 36:8          33:6
       DENNEY 1:23        23:3,7 25:19        2:5             foregoing 40:8     goes 26:2
       department         25:23 26:23       everybody 14:5 form 21:17,25         going 4:12 7:4
         18:13 20:17      27:1,6,9 28:19      15:16             22:10,16 23:8      7:24 11:2
         36:12            28:22 29:4,11     exactly 10:4        24:13 25:7,13      23:20,22 29:19
       Depending 8:8      30:9,14,16        EXAMINATI...        26:9,16 27:11      29:21 31:11,19
       deposed 6:6        31:4,13 32:14       3:2,3 5:17        27:17,23 28:15     38:2
       deposing 34:11     32:21             examined 5:14       28:24 29:6,12    good 19:23 38:1
       deposition 1:15 Docher's 12:14       excited 22:15,18    30:10,22 31:24   Greg 5:24
         4:5,7,13,14,20   27:14 35:5          23:7 25:6 26:8    32:9,16,24       Gregory 2:2
         4:22 5:1,2,5,7 DOCHER-NE...        excused 38:14       34:3,21 35:11    ground 6:18
         5:10 6:19        1:4               exit 29:3,9,10      35:17 37:2         14:11,16,17,18
         37:20 38:15,21 doing 14:21         exited 25:23,25   Fort 2:2             14:19,22 15:5
         40:8,10,14     Dollar 20:24          27:5,21 29:23 forth 9:21             15:8,11 30:17
       depositions 4:6    21:1              Expires 39:17     four 12:17           32:15 33:7,18
       deputies 5:25    door 11:1 12:2,6    explain 35:20     four-wheel           33:24 34:2,7,8
         13:10 14:3,12    12:21,21 15:12                        10:25              34:18
         15:7                                        F                           guardian 1:5
                          29:25 30:2,2                        frame 24:16
       deputies' 13:16 doorbell 7:18        family 17:3         36:22,22         guess 10:18
       describe 29:22   doors 29:10         fast 14:9,10 18:2 fresh 18:15        guns 29:4
         35:13          draw 35:21          fear 22:9 23:22   fresher 18:18      guy 7:18
       detail 36:24     drawn 29:4          feel 13:19 34:9   friends 17:5
       different 16:13                      feet 15:13 17:13 front 7:22 8:13            H
                        dried 35:25
         16:14          drive 12:18,20      FF 39:18            8:17,19,21,22    hand 11:11 24:6
       DIGITALLY        driveway 26:18      fighting 14:25      8:25 9:2,13       24:9 27:3,4,10
         39:19 40:21    drop 30:14          filed 6:1           11:19 12:17       28:12,23
       DIRECT 3:3       drops 35:14         financially         23:17 25:4,16    handcuffs 14:13


                                WWW.ATLANTICREPORTING.COM
                                     (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 14 of
                                      17
                                                                                      Page 43

        32:12 33:19       individual 7:21    July 39:18      little 9:22 17:22   missing 37:1
       handing 21:15        9:4,6 18:14      June 1:16 5:7      18:4 35:21       morning 4:2
       handwritten        individually 1:8    39:7 40:18     location 7:10       mother 1:5
        16:9                1:8,9,9,11                          21:2,13          moved 23:12
       happened 7:10      informed 4:10             K        long 6:7 18:13
        9:2 11:12,15        14:2           keep 23:2            21:12 33:9,12            N
        13:12 14:2        initial 26:24    KEN 1:10             33:14            N 3:1 4:1
        29:22 33:4        initially 31:13  Kim 4:18          look 9:6 18:21      name 4:19 5:19
        35:23             inside 14:4      Kim's 4:18           37:6               5:21,24 19:23
       Hardyal 1:15       interest 13:13   kinda 7:24        looking 17:25       named 9:9
        4:9 5:12,20       interested 40:17 know 6:24 7:3,7   lot 12:1 13:7       natural 6:24
        39:7 40:8,10      interviewed 16:3   7:8 8:5 9:20       19:15 29:25      need 4:22 6:20
       head 6:23,24         18:6             10:4 11:5 12:8     31:10 33:1         6:25 8:21
       hear 12:11 28:20   introduced 5:23    13:5,13,14,18      35:20              37:23,25
       hearing 5:10       irrational 28:9    13:23 14:1      Lucie 1:10,11,18    neighbor 15:17
       Hecht 1:25 3:5                        15:1,2,12 16:6     1:18 4:3,4,17    neither 40:12
        4:2 19:9 20:20           J           16:25 18:5,19      5:24 16:15,25    New 6:7,8
        20:21 21:21      J 1:10 2:2          19:14,25 20:2      20:2             NEWMAN 1:7
        22:7,13,20       JANICE 1:4          22:3 23:11      lying 14:23         night 18:8,12
        23:14 24:20      job 6:9,10          24:3 25:4,15                        nighttime 16:9
        25:11,17 26:12   Join 21:18 22:1     27:4,18 28:1,4         M            normal 9:17,20
        26:19 27:13,20     22:11,17 23:9     29:19 30:12,15 manager 7:10           11:22 17:23,25
        28:6,18 29:2,8     24:14 25:8,14     30:18,19,20,20   7:12,14 8:19         25:21 30:6
        29:17 30:13        26:11 27:24       30:24 32:2       21:5,10,12           31:22 32:4
        31:1 32:1,10       28:17,25 29:7     33:6 34:14,17 MANGRUM               North 2:4
        33:3 34:6,24       29:13 30:11,23    35:19,22 36:5    1:8                Notary 1:20
        35:15,24 37:5      32:17 34:5,22     37:25           MARCELLA              39:5 40:6
        37:16              35:12,18        KNOWN 39:13        1:20 39:5,17       notice 31:10
       Heck 6:2          joined 4:17                          40:6,20            noticed 4:13 5:1
                         Jolly 2:1,2 3:3            L        Mark 4:8 21:15        5:3
       holding 23:16
        27:9 28:22         4:25 5:18,24    Lakes 1:24        MARTIN 39:2
                           6:4 19:14       lane 9:25          40:2                       O
       hurt 23:22
                           21:18 22:1,11   Large   1:21 39:6 MASCARA             O 4:1
               I           22:16 23:8        40:7             1:10               oath 3:8 39:4,8
       I.T 36:13           24:13 25:8,13   Lauderdale    2:2 matter 39:10        oaths 39:6
       idea 18:10          26:9,16 27:11 law 12:9,15 16:4 mean 8:18 9:19         Object 21:17,25
       IDENTIFICA...       27:17,23 28:15    16:17 17:3,5     36:20                22:10 25:7
         39:13,14          28:24 29:6,12   lawsuit  5:25     meaning 7:17          35:11
       identified 30:8     30:10,22 31:24    6:13             38:5               observe 9:15
       imagine 28:12       32:9,16,19,24   lawyers   19:17   means 8:21            14:12 15:14,24
       immediately         34:3,21 35:12 lay 30:16            37:21              observed 28:1
         29:11             35:17 37:2,19   learned   14:7    mentioned 10:21     office 4:14 11:1
       incident 7:9 16:4   38:2,5,10,13    leave 11:6 21:8    20:5                 16:15 17:1,11
         18:6,8,9,15,21 Jose 1:11 19:24    left 21:6         met 6:2 18:25         19:3,11,12,13
         36:17           judge 5:10        legal 1:5         mind 13:23            22:23 23:1,4,7
       independent       Julie 2:5 4:11,22 legs 14:24         18:15                23:19 24:22
         1:12              5:4 19:23       line 9:25  25:1   minutes 33:15         36:23


                                 WWW.ATLANTICREPORTING.COM
                                      (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 15 of
                                      17
                                                                                       Page 44

       officer 12:20,22     14:6,8,15          22:6,14           29:15 30:7        8:20 10:3,4,6
         13:6,7 24:18       15:22 20:5       physical 31:19     purchase 24:11     10:14,19,23
         27:15 29:24        23:6,13 24:11    pick 11:12 24:1     24:24 25:1,5      11:24 12:16
         30:3 31:15,18      24:17,18,19,22     24:22 37:10      purchasing         15:4,7 16:3
         31:23 32:25        26:7 29:24       picked 24:3         25:12,19,22       18:5,7 20:11
         33:10 37:11,13     33:5,8,11,16     place 1:18 32:12   PURDY 2:1          25:9 26:20,23
       officers 11:21,23                       32:20            purpose 22:25      29:14 30:21,25
         12:3,9,24 13:2            P         plaintiff 1:23      39:9              32:3,4 33:12
         23:13 26:20       P 4:1               6:12             put 11:2,3 14:13   34:14
         27:6,10,21        P.A 1:23          Plaintiff(s) 1:6    23:21,25 24:3   remind 6:23
         28:20,21 29:3     p.m 1:17 38:15    platform 26:3       24:5,8          repeat 7:3
         29:9 30:7 31:5      39:7            please 5:19 7:3                     reported 40:9
         31:12 32:11,14    Page 3:2 8:21     pocket 24:4,5,8            Q        reporter 1:20
         32:20 33:21       paged 8:17          27:14,19         question 7:3,5     3:9 6:20 40:4,6
       oh 18:19 19:8       palm 1:24,24      point 8:10 15:15     28:19          represent 5:24
         34:13               12:19             23:6,15 24:11    questions 7:3      19:24 20:21
       okay 6:10,15,18     paramedic 4:8       27:5 32:11         19:16,17 20:18 represented 6:1
         6:22 7:2,5,7,12     4:11,16,20      police 18:12         37:17,18       represents 6:5
         7:16,19 8:10        15:24             26:13,15,20,24                    requested 40:11
                           paramedics                                   R
         8:14,25 9:2,6                         27:2 28:7,13                      rescheduled 5:3
         9:11,15 10:3,6      15:14,19          28:20 29:3,9     R 1:20 4:1 39:5  Rescue 15:14
         10:8,11 11:12     park 12:20          29:23 31:5,7       39:17 40:6,20 reset 4:23
         11:18,20,23       parking 12:1,17     31:12 32:21      react 28:13      respective 38:20
         12:5,8,11 13:9      12:19 13:6        33:21 36:17,25   reaction 25:16   responsibility
         13:19,23 14:2       15:13 26:3        37:11,13         read 37:19,22,24   13:17,20
         14:7,12,15,18       29:25 33:1      Port 1:18,18 4:3     38:6,8         Retail 6:11
         14:21,24 15:2     part 13:18          4:4              reading 38:22    review 40:11
         15:14 16:3,6      parties 38:20     position 21:4      realized 28:4    right 10:20
         16:12,17,20         40:13           prepared 4:19      reason 22:3,4      23:11 24:21
         17:3,15,24        path 12:18,20     prior 5:7          reasons 4:21       28:10 37:19,25
         18:5,23 19:2,5    patience 19:19    probably 15:13     recall 20:6 25:1   38:5,7
         19:20 20:13       people 16:1         17:10,11,13,14     27:1 33:21     ring 7:18
         29:20 30:19         19:15 31:10       17:17 21:13      record 5:19      ROBINSON 1:8
         31:2 33:14,16     period 33:13        28:3             recorded 16:7,8 Rosario 1:11
         34:13,16 35:7     person 8:11 9:9 produced 5:6,6         16:10,11         19:24,25
         37:6,16 38:10       9:12 16:13,14     39:13,14         recording 18:20 rules 6:18
         38:13               16:14 36:13     provide 16:17      reentered 33:9
       open 12:21          personal 21:7     provided 16:22     refer 9:11               S
       opened 8:3,8        personally 28:4     18:7,11          refusing 22:5    S 1:25 4:1
       opinion 22:19         39:8,13         Public 1:21 39:5   register 9:24    S.W 1:18
       Orange 2:4          personnel 15:24     40:7               11:2 17:9      safety 13:15,16
       ordered 37:20         16:4            puddle 35:16,19    regular 25:21      13:18 25:18
       Orlando 2:5         phone 5:9 8:15      35:20            related 6:9,10     27:22
       outcome 40:17         9:5 10:5,5,8,12 pull 24:18 26:13     40:13          Samantha 4:7
       outside 5:23          10:15 11:1,4      26:15 29:16      relative 40:15     4:15
         11:25 12:2,5        11:16 19:7        31:7             remember 7:9     SAMSON 1:20
         12:23 13:1,9        21:16,23 22:5 pulled 26:24           7:18,19 8:1,17   39:5,17 40:6


                                  WWW.ATLANTICREPORTING.COM
                                       (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 16 of
                                      17
                                                                                           Page 45

         40:20             Sheriff's 4:14      spot 34:8 35:22       36:16              4:16,20 5:5
       saw 14:14,17,19       16:15 17:1        spots 35:14         sworn 5:14         thought 13:13
         15:18 21:19,22      20:17             SS 39:1 40:1        system 18:20         13:17 14:4
         25:20 26:15       SHIPLEY 1:23        St 1:10,11,18,18                       thousand 21:11
         29:14,24 30:7     short 33:12           4:3,4,17 5:24              T         threatening 32:7
         31:14,14,18       Shorthand 40:6        16:15,25 20:2     tackle 32:14       three 10:16
         34:18             shortly 31:8        stand 26:6 29:10    take 4:5,7,19        12:16
       saying 10:3,6,14    sic 4:4 16:1        standing 13:21        7:24 11:7        throw 36:5
         15:4,7 29:19      side 12:7,20 13:6     24:21 26:5          20:11 30:4       time 1:17 6:7 8:1
         30:19,20            22:24 28:3          33:22             taken 1:19 6:20      8:9 11:1 13:17
       scared 21:24          31:15 33:1        starts 33:7           14:19 20:9         16:10 19:11,16
         22:2              sign 37:10          state 1:21 5:19       38:6 40:14         21:14,19,23
       SCAROLA 1:23        signature 38:21       39:1,5 40:1,7     talking 9:12         24:15 25:3,10
       scene 9:21,23         39:21 40:22       statement 6:16        12:21,22 13:25     25:20 33:13
         20:8 30:8 31:8    SIGNED 39:19          16:17,20,23         18:1,2,3 31:14     36:22,22 37:1
       screwdriver           40:21               18:7,11,16        Tavares 1:4 9:9    today 4:19 7:7
         7:23 8:11         Sinclair 4:8,12     stay 23:10 26:5       20:22 21:15,15     19:7,8,10
         10:22,23 11:5       4:16,20 5:6       stayed 23:12          21:22 22:8,14    told 4:21 11:6,12
         11:6,10,13        sir 10:16 34:15     stenographica...      22:21 23:7,15      23:25 27:6,10
         13:5,10,14,24       37:19 38:13         40:9                26:23 27:1,6,9     27:15 30:3
         14:1,3 23:16      sit 26:5,6          Stipulated 38:19      27:14 28:19,22     32:25 33:9
         23:23,25 24:10    six 21:13           STIPULATION           29:4,11 30:9     transcribed
         24:23 27:2,7,9    SLC 2:4               38:18               30:14,16 31:4      37:22
         27:14 28:5,12     slim 9:7            stop 7:24 29:18       31:13,18,22      transcript 39:19
         30:3 33:2,10      slow 18:3,4         store 7:21 8:25       32:12,14,21        40:11,21
       scrub 36:4          slurring 17:21        9:3,13 11:19        35:2,3,5         transcription
       SEARCY 1:23         smell 17:19           12:17 13:8        tell 10:18 11:3      40:10
       second 15:13        somebody 8:15         15:15 16:13         13:7,10,18,20    Tree 20:24 21:1
         31:7,9 37:4,6,9     16:10 19:10         20:5,24 25:23       16:20,22 30:4    trees 12:19
       security 36:8       sorry 34:25           26:1 27:5 30:4    telling 24:22      truck 15:20,21
       see 12:7 14:19      sort 28:22 31:19      30:5 36:15        testified 5:15       20:6
         15:21 20:9        SOUTHERN            straight 26:2,4       8:12             true 40:9
         23:15 25:25         1:1               Strike 36:7         testimony 31:4     truth 16:20
         26:6,13 27:9      Southwest 4:3       struggle 31:19        39:9             try 7:4 32:20
         31:7 32:11,14     space 15:13         Suite 4:4           thank 19:18        trying 18:10
         32:20 33:4,17     speak 12:23 13:1    Sunday 8:3,4,8        37:17 38:13      two 21:11 31:12
         33:18,24 34:1       20:15 31:13       Sunrise 2:1         thing 10:17        Tyk 2:5 3:4 4:11
         34:7 35:5         speaking 12:15      supervisor 8:21       18:19              4:22 5:4,4 6:3
         37:22               17:7 22:21        sure 7:6 8:9 10:4   think 6:14 8:3,7     6:3,5 19:22,23
       seeing 20:6           31:18               11:16 12:6          8:8 10:9 11:11     20:18 21:17,25
       sense 9:24 17:25    special 1:12          16:1,8,9,16         12:1 13:5          22:10,17 23:9
         22:3 38:4         specifically          18:13 24:5,7,8      14:14 15:23        24:14 25:7,14
       set 4:6,15 37:4       15:18               25:3,15 26:22       16:10,11 18:12     26:11 27:24
       shake 6:23,24       speech 18:2           28:12 31:9          19:8,9,12,16       28:17,25 29:7
       Sheriff 1:10 2:1    spell 5:21            33:15,20 36:23      22:2 24:15,17      29:13 30:11,23
         4:25 5:1,25       spoke 12:8 19:9       37:7,15 38:6        36:18,21           32:17 34:5,22
         18:23 36:10,12    spoken 19:2,5       surveillance        Thomas 4:8,11        35:11,18 37:18

                                  WWW.ATLANTICREPORTING.COM
                                       (800) 336-0050
Case 2:16-cv-14413-RLR Document 134-4 Entered on FLSD Docket 10/27/2017 Page 17 of
                                      17
                                                                              Page 46

       TYPE 39:14       wasn't 9:17               Y          2015 21:9
                         17:22 27:25      yeah 7:15 8:6,23   2017 1:16 5:8
               U         35:14 36:19,20                        39:7 40:18
                                            9:10 10:9,13
       U.S 1:1          watch 31:12         10:24 11:8       2018 39:18
       unaware 4:18     water 36:3,5        14:17 15:16      2139 1:24
       understand 7:2 way 13:6,11,21        16:5,19 18:17    2455 2:1
         9:12 10:17      13:21,25 28:13     18:19,22,24      25 15:13
         19:14          we'll 7:24          19:10,14 20:14   26 39:18
       understanding    we're 29:18         21:20 22:24
         8:23            34:11                                       3
                                            23:20 24:2,9
       understood 7:5 weapon 28:23          24:17 25:24      3:24 38:15
       unknown 4:21      30:9               26:2,14,17       30 5:8 15:13
       US1 21:3         went 9:2 13:9       31:3 34:4 36:1   32801 2:5
       use 9:4 10:5,8    14:9,15 15:22      37:3,8,8,12      33304 2:2
                         24:17,18 25:5      38:12            33409 1:24
               V                                             3848 21:3
                         25:25 31:16      years 10:16
       vehicle 27:21    weren't 32:5,7                       39 3:8
         31:7,8                             21:13
                        West 1:24         yell 30:14,16
       vehicles 29:9                                                  4
                        WILSON 2:4        yelling 32:5
       verbal 6:21,25   witness 5:13,16                      40 3:9
       video 18:20,20                     Yep 16:21
                         10:11 19:20      York 6:7,8                  5
         18:21 37:7      21:19 22:2,12
       vs 1:6                                                5 3:3
                         22:18 23:10               Z
               W         24:15 25:9,15                                6
                         26:10,17 27:12            0
       WADE 1:9                                              6 1:16
                         27:18,25 28:16   08 4:4             6th 39:7
       wait 5:9 25:1
                         29:1,14 30:12
       waive 37:24 38:2                           1
                         30:24 31:25                                  7
         38:3,4,5,8,11                    10 4:2,15 33:15
                         32:18,25 33:10
         38:12                            108 1:18                   8
                         34:4,12,23
       waived 38:22                       11 7:14 20:16
                         35:13,19 37:3                       8th 40:18
       walk 13:7 23:3                       21:10
                         38:1,4,9,12,14
         24:11 29:11                      111 2:4                    9
                         38:20,21
         30:5                             1200 2:4           9-1-1 21:16,23
                        witnesses 34:12
       walked 11:21                       1216 2:1             22:6,15,21
                        words 17:21
         23:13,18 24:19                   122625 39:18
                        work 8:1 10:24
         24:23 26:4,25                    15 17:13,14
                         20:23,24
         29:25 30:2                         33:15
                        works 20:2
         31:15 32:23                      19 3:4
                        wouldn't 9:20
         33:8,16
                         27:25                    2
       walking 27:1
                        written 6:17
         28:11,20                         2:16cv14413 1:3
                         29:21
       wall 12:18 17:10                   2:52 1:17 39:7
                        wrong 34:11,15
       want 10:18 32:2                    20 3:5 17:14
         32:2 34:14             X         201 1:18 4:3
         35:4 38:3      X 3:1             2014 7:14,15
       wash 36:6        XX 39:13            20:16 21:10


                              WWW.ATLANTICREPORTING.COM
                                   (800) 336-0050
